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                               UNITED STATES DISTRICT COURT
                                    DISTRICT OF IDAHO


DANIEL SOUMAS AND VALERIE
SOUMAS, husband and wife,                        2:18-CV-00138-EJL
                 Plaintiffs,
                                                 PROTECTIVE ORDER
        v.

KOOTENAI COUNTY, IDAHO, a
political subdivision of the State of
Idaho; and BEN WOLFINGER, in his
official capacity as Sheriff of Kootenai
County, Idaho,
                   Defendants.


        The parties have stipulated to the Court for entry of this Protective Order pursuant

to Fed. R. Civ. P. 26(c) concerning the treatment of Confidential Information (as

hereinafter defined). The parties agree to the following and the Court hereby orders the

same:

 1.      PURPOSES AND LIMITATIONS

        Discovery in this action is likely to involve production of confidential, proprietary,

or private information for which special protection may be warranted. Accordingly, the

parties hereby stipulate to and petition the court to enter the following Stipulated Protective

Order. This Order does not confer blanket protection on all disclosures or responses to

discovery. Rather, the protection it affords from public disclosure and use extends only to

the limited information or items that are entitled to confidential treatment under the

applicable legal principles, and it does not presumptively entitle parties to file confidential

information under seal.
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2.     “CONFIDENTIAL” MATERIAL

      “Confidential” material shall include the following documents and tangible

things produced or otherwise exchanged:

             (a)    All    employee      and    personnel       files,   including
             compensation and benefit information, performance and
             disciplinary information, termination reasons, Social Security
             numbers, contact information, dates of birth, taxes or tax
             returns, medical and healthcare information and records, for
             Plaintiff, and current and former employees, officers, or
             directors of Defendants;


             (b)    Plaintiff’s tax records;


             (c)    Plaintiff’s medical and/or counseling records, including
             but not limited to, bills, charts, and invoices.

3.     SCOPE

       The protections conferred by this agreement cover not only confidential material

(as defined above), but also (1) any sensitive information copied or extracted from

confidential material; (2) all copies, excerpts, summaries, or compilations of confidential

material; and (3) any testimony, conversations, or presentations by parties or their

counsel that might reveal confidential material. However, the protections conferred by

this agreement do not cover information that is in the public domain or becomes part of

the public domain through trial or otherwise.



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4.    ACCESS TO AND USE OF CONFIDENTIAL MATERIAL

      4.1    Basic Principles. A receiving party may use confidential material that is

disclosed or produced by another party in connection with this case only for prosecuting,

defending, or attempting to settle this litigation. Confidential material may be disclosed

only to the categories of persons and under the conditions described in this agreement.

Confidential material must be stored and maintained by a receiving party at a location and

in a secure manner that ensures that access is limited to the persons authorized under this

agreement.

      4.2    Disclosure of “CONFIDENTIAL” Information or Items. Unless

otherwise ordered by the court or permitted in writing by the designating party, a

receiving party may disclose any confidential material only to:

             (a)     the receiving party’s counsel of record in this action, as
             well as employees of counsel to whom it is reasonably
             necessary to disclose the information for this litigation;


             (b)     the receiving party, including officers, directors, and
             employees (including in house counsel) of the receiving party
             to whom disclosure is reasonably necessary for this litigation;


             (c)     experts and consultants to whom disclosure is
             reasonably necessary for this litigation and who have signed
             the “Acknowledgment and Agreement to Be Bound” (Exhibit
             A);



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              (d) the court, court personnel, and court reporters and their
              staff;


              (e) copy or imaging services retained by counsel to assist in the
              duplication of confidential material, provided that counsel for
              the party retaining the copy or imaging service instructs the
              service not to disclose any confidential material to third parties
              and to immediately return all originals and copies of any
              confidential material;


              (f) during their depositions, witnesses in the action to whom
              disclosure is reasonably necessary and who have been
              informed on the record of their duty to keep documents and
              information subject to this Order confidential, and have agreed
              to do so on the record. Pages of transcribed deposition
              testimony or exhibits to depositions that reveal confidential
              material must be separately bound by the court reporter and
              may not be disclosed to anyone except as permitted under this
              agreement;


              (g) the author or recipient of a document containing the
              information or a custodian or other person who otherwise
              possessed or knew the information.


       4.3    Filing Confidential Material. Before filing confidential material or

discussing or referencing such material in court filings, the filing party shall confer with

the designating party to determine whether the designating party will remove the

confidential designation, whether the document can be redacted, or whether a motion to
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seal or stipulation and proposed order is warranted. Local Civil Rule 5.3 sets forth the

procedures that must be followed when a party seeks permission from the court to file

material under seal.

5.     DESIGNATING PROTECTED MATERIAL

       5.1    Exercise of Restraint and Care in Designating Material for Protection.

Each party or non-party that designates information or items for protection under this

agreement must make any such designation in good faith. The designating party must

designate for protection only those parts of material, documents, items, or oral or written

communications that qualify, so that other portions of the material, documents, items, or

communications for which protection is not warranted are not swept unjustifiably within

the ambit of this agreement.

       Mass, indiscriminate, or routine designations are prohibited. Designations that are

shown to be clearly unjustified or that have been made for an improper purpose (e.g., to

unnecessarily encumber or delay the case development process or to impose unnecessary

expenses and burdens on other parties) expose the designating party to sanctions.

       If it comes to a designating party’s attention that information or items that it

designated for protection do not qualify for protection, the designating party must

promptly notify all other parties that it is withdrawing the mistaken designation.

       5.2    Manner and Timing of Designations. Except as otherwise provided in this

agreement (see, e.g., second paragraph of section 5.2(a) below), or as otherwise stipulated

or ordered, disclosure or discovery material that qualifies for protection under this



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agreement must be clearly so designated before or when the material is disclosed or

produced.

            (a) Information in documentary form: (e.g., paper or electronic
            documents and deposition exhibits, but excluding transcripts of
            depositions or other pretrial or trial proceedings), the
            designating party must affix the word “CONFIDENTIAL” to
            each page that contains confidential material. If only a portion
            or portions of the material on a page qualifies for protection,
            the producing party also must clearly identify the protected
            portion(s) (e.g., by making appropriate markings in the
            margins).


            (b) Testimony given in deposition or in other pretrial or trial
            proceedings: the parties must identify on the record, during the
            deposition, hearing, or other proceeding, all
            protected testimony, without prejudice to their right to so
            designate other testimony after reviewing the transcript. Any
            party or non-party may, within fifteen days after receiving a
            deposition transcript, designate portions of the transcript, or
            exhibits thereto, as confidential.


            (c) Other tangible items: the producing party must affix in a
            prominent place on the exterior of the container or containers
            in which the information or item is stored the word
            “CONFIDENTIAL.” If only a portion or portions of the
            information or item warrant protection, the producing party, to
            the extent practicable, shall identify the protected portion(s).
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       5.3    Inadvertent Failures to Designate. If timely corrected, an inadvertent

failure to designate qualified information or items does not, standing alone, waive the

designating party’s right to secure protection under this agreement for such material. Upon

timely correction of a designation, the receiving party must make reasonable efforts to

ensure that the material is treated in accordance with the provisions of this agreement.

6. CHALLENGING CONFIDENTIALITY DESIGNATIONS

        6.1   Timing of Challenges. Any party or non-party may challenge a designation

of confidentiality at any time. Unless a prompt challenge to a designating party’s

confidentiality designation is necessary to avoid foreseeable, substantial unfairness,

unnecessary economic burdens, or a significant disruption or delay of the litigation, a party

does not waive its right to challenge a confidentiality designation by electing not to mount

a challenge promptly after the original designation is disclosed.

        6.2    Meet and Confer. The parties must make every attempt to resolve any

dispute regarding confidential designations without court involvement. Any motion

regarding confidential designations or for a protective order must include a certification, in

the motion or in a declaration or affidavit, that the movant has engaged in a good faith

meet and confer conference with other affected parties in an effort to resolve the dispute

without court action. The certification must list the date, manner, and participants to the

conference. A good faith effort to confer requires a face-to-face meeting or a telephone

conference.

        6.3    Judicial Intervention. If the parties cannot resolve a challenge without

court intervention, the designating party may file and serve a motion to retain

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confidentiality under Local Civil Rule 7.1 (and in compliance with Local Civil Rule 5.3 if

applicable), subject to the procedural requirements imposed by the Court for discovery

disputes. The burden of persuasion in any such motion shall be on the designating party.

Frivolous challenges, and those made for an improper purpose (e.g., to harass or impose

unnecessary expenses and burdens on other parties) may expose the challenging party to

sanctions. All parties shall continue to maintain the material in question as confidential

until the court rules on the challenge.

7. PROTECTED MATERIAL SUBPOENAED OR ORDERED PRODUCED IN
OTHER LITIGATION

       If a party is served with a subpoena or a court order issued in other litigation that

compels disclosure of any information or items designated in this action as

“CONFIDENTIAL,” that party must:

              (a) promptly notify the designating party in writing and include
              a copy of the subpoena or court order;


              (b) promptly notify in writing the party who caused the
              subpoena or order to issue in the other litigation that some or
              all of the material covered by the subpoena or order is subject
              to this agreement. Such notification shall include a copy of this
              agreement; and


              (c) cooperate with respect to all reasonable procedures sought
              to be pursued by the designating party whose confidential
              material may be affected.



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8.     UNAUTHORIZED DISCLOSURE OF PROTECTED MATERIAL

       If a receiving party learns that, by inadvertence or otherwise, it has disclosed

confidential material to any person or in any circumstance not authorized under this

agreement, the receiving party must immediately (a) notify in writing the designating party

of the unauthorized disclosures, (b) use its best efforts to retrieve all unauthorized copies of

the protected material, (c) inform the person or persons to whom unauthorized disclosures

were made of all the terms of this agreement, and (d) request that such person or persons

execute the “Acknowledgment and Agreement to Be Bound” that is attached hereto as

Exhibit A.

9.     INADVERTENT PRODUCTION OF PRIVILEGED OR OTHERWISE
       PROTECTED MATERIAL

       When a producing party gives notice to receiving parties that certain inadvertently

produced material is subject to a claim of privilege or other protection, the obligations of

the receiving parties are those set forth in Federal Rule of Civil Procedure 26(b)(5)(B).

This provision is not intended to modify whatever procedure may be established in an e-

discovery order or agreement that provides for production without prior privilege review.

Parties shall confer on an appropriate non-waiver order under Fed. R. Evid. 502.

10.    NON TERMINATION AND RETURN OF DOCUMENTS

       Within 60 days after the termination of this action, including all appeals, each

receiving party must return all confidential material to the producing party, including all

copies, extracts and summaries thereof. Alternatively, the parties may agree upon

appropriate methods of destruction.

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       Notwithstanding this provision, counsel are entitled to retain one archival copy of

all documents filed with the court, trial, deposition, and hearing transcripts,

correspondence, deposition and trial exhibits, expert reports, attorney work product, and

consultant and expert work product, even if such materials contain confidential material.

       The confidentiality obligations imposed by this agreement shall remain in effect

until a designating party agrees otherwise in writing or a court orders otherwise.


SO ORDERED.

                                                 DATED: June 14, 2018


                                                 _________________________
                                                 Edward J. Lodge
                                                 United States District Judge




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                                        EXHIBIT A

              ACKNOWLEDGMENT AND AGREEMENT TO BE BOUND


       I, __________________________________________ [print or type full name], of
_____________________________ [print or type full address], declare under penalty of
perjury that I have read in its entirety and understand the Stipulated Protective Order that
was issued by the United States District Court for the District of Idaho on June 14, 2018 in
the case of DANIEL SOUMAS AND VALERIE SOUMAS, husband and wife, Plaintiffs
v. KOOTENAI COUNTY, IDAHO, a political subdivision of the State of Idaho; and BEN
WOLFINGER, in his official capacity as Sheriff of Kootenai County, Idaho, Defendants,
Case No. 4:15-CV-00478-EJL. I agree to comply with and to be bound by all the terms of
this Stipulated Protective Order and I understand and acknowledge that failure to so
comply could expose me to sanctions and punishment in the nature of contempt. I
solemnly promise that I will not disclose in any manner any information or item that is
subject to this Stipulated Protective Order to any person or entity except in strict
compliance with the provisions of this Order.
       I further agree to submit to the jurisdiction of the United States District Court for
the District of Idaho for the purpose of enforcing the terms of this Stipulated Protective
Order, even if such enforcement proceedings occur after termination of this action.

Date: ___________________________

City and State where sworn and signed: __________________

Printed name: ______________________

Signature: _________________________




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